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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 CHIRAG SHAH,                                       )
                                                    )
               Plaintiff,                           )
                                                    )
 v.                                                 ) CIVIL ACTION No. 1:13CV1481
                                                    )
 SOUTHWEST AIRLINES, et al                          )
                                                    )
               Defendant.                           )

                      PLAINTIFF’S DISPUTED JURY INSTRUCTIONS

         COMES NOW, the Plaintiff, by counsel, and submits the following disputed Jury
 Instructions:

 A.     Discriminatory Intent

 B.     Direct Evidence of Discrimination

 C.     Indirect Evidence—Prima Facie Case

 D.     Presumption

 E.     Indirect Evidence-Rebuttal of Prima Facie Case

 F.     Indirect Evidence---Pretext

 G.     49 USC 44902(b)

 H.     Definition of Inimical

 I.     Definition of Arbitrary and Capricious

 J.     State of Mind of the Decision-maker

 K.     The Court’s Determination on Prima Facie Evidence

 L.     The Verdict

 M.     Punitive Damages

 N.     Punitive damages (alternate - Sands 1981 instruction)
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 O.    Evidence of Insurance

 P.    Managerial Capacity Defined.

 Q.    Duty to Deliberate/Unanimous Verdict

 R.    Punitive Damages – Corporate Defendant's Liability


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                                          By Counsel
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                               CERTIFICATE OF SERVICE

       I certify that on the 2nd day of September, 2014, I send a copy of the above electronically

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                                       JURY INSTRUCTION NO. A
                                          Discriminatory Intent

         To prevail on his discrimination claims against Southwest Airlines, Mr. Shah must prove,
 by a preponderance of the evidence, that the Defendant acted with a discriminatory intent,
 motive or state of mind as a result of his perceived race, color, national origin, ethnicity or
 ancestry. In determining whether Southwest Airlines discriminated against Mr. Shah on these
 grounds, you may consider all the evidence, both direct and circumstantial, and all reasonable
 inferences that lead from that evidence. Moreover, Mr. Shah need not prove that Southwest
 Airlines’ employees acted out of conscious racial intent because the prohibition on
 discrimination extends to decisions that are based on stereotyped thinking and other forms of less
 conscious bias.


 Sources:          McDonnell Douglas v. Green, 411 U.S. 792, 802-804 (1973); Love-Lane v. Martin, 355 F. 3d 766,
 786 (4th Cir. 2004); Thomas v. Eastman Kodak Co., 183 F.3d 38, 42 (1st Cir. 1999); Hill v. Lockheed Martin
 Logistics Mgmt, 354 F. 3d 277, 287 (4th Cir. 2004); Jordan v. Alternative Resources Corp., 458 F. 3d 332, 345 (4th
 Cir. 2006); Diamond v. Colonial Life & Acc. Ins. Co., 416 F. 3d 310, 318 (4th Cir. 2005).
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                                   JURY INSTRUCTION NO. B
                                  Direct Evidence of Discrimination


         Mr. Shah may prove intentional discrimination by direct evidence that his perceived race,
 color, national origin, ethnicity or ancestry played a role in the decision to remove him from
 Flight 392 or the decision not to rebook him. Evidence of references to Mr. Shah’s perceived
 race, color, national origin, ethnicity or ancestry in the decision-making process are examples of
 direct evidence of discrimination. Additionally, evidence that other individuals from the same or
 similar race, color, national origin, ethnicity or ancestry as Mr. Shah were removed from the
 Flight 392 also constitutes direct evidence of discrimination. If you find that Mr. Shah has
 proved intentional discrimination through direct evidence by a preponderance of the evidence,
 Mr. Shah will have satisfied his burden of proof.


 Sources:       Williams v. Lindenwood Univ., 288 F.3d 349, 356 (8th Cir. 2002)
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                                     JURY INSTRUCTION NO. C
                                  Indirect Evidence—Prima Facie Case

        Mr. Shah may also prove intentional discrimination using indirect or circumstantial
 evidence. To prove intentional discrimination using indirect or circumstantial evidence, Mr.
 Shah’s initial burden is to establish a prima facie case of discrimination. Mr. Shah’s initial
 burden to establish a prima facie case is not difficult; he must merely offer proof of facts that,
 absent other explanation, make it more likely than not that a discriminatory motive was at work.

 Sources:          McDonnell Douglas v. Green, 411 U.S. 792, 802-04 (1973); Tex. Dep’t of County Affairs v.
 Burdine, 450 U.S. 248, 253 (1981); Hill v. Lockheed Martin Logistics Mgmt, 354 F. 3d 277, 287 (4th Cir. 2004);
 Diamond v. Colonial Life & Acc. Ins. Co., 416 F. 3d 310, 318 (4th Cir. 2005); Hawkins v. PepsiCo, Inc., 203 F. 3d
 274, 278 (4th Cir. 2000).
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                                 JURY INSTRUCTION NO. D
                                     PRESUMPTION


 If you find: (1) that plaintiff was a member of a racial, ethnic, or national minority – that is
 Indian, Arab or Middle Eastern looking; (2) that he had a lawfully purchased ticket when he
 boarded the plane; and (3) that plaintiff and another Indian or Middle Eastern looking man were
 removed from the airplane and not allowed to reboard, then plaintiff has established a prima
 facie case that he was intentionally discriminated against on the basis of his perceived race,
 color, ethnicity, national origin or ancestry. The burden then shifts to defendant to prove its
 defenses.

 See Flowers v. Crouch-Walker Corp., 552 F.2d 1277, 1281-84 (7th Cir. 1977)
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                                     JURY INSTRUCTION NO. E
                            Indirect Evidence-Rebuttal of Prima Facie Case


        Once Mr. Shah has established a prima facie case of discrimination, the burden shifts to
 Southwest Airlines to rebut the inference of discrimination. Southwest Airlines has the burden of
 proving, by a preponderance of the evidence, that the adverse actions were taken for a legitimate
 nondiscriminatory reason. To meet its burden, Southwest Airlines must clearly set forth with
 some specificity plausible reasons for its actions.



 Sources:         McDonnell Douglas v. Green, 411 U.S. 792, 802-04 (1973); Hill v. Lockheed Martin Logistics
 Mgmt, 354 F. 3d 277, 286 (4th Cir. 2004); Diamond v. Colonial Life & Acc. Ins. Co., 416 F. 3d 310, 318 (4th Cir.
 2005); Hawkins v. PepsiCo, Inc., 203 F. 3d 274, 278 (4th Cir. 2000); Love-Lane v. Martin, 355 F. 3d 766, 788 (4th
 Cir. 2004).
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                                      JURY INSTRUCTION NO. F
                                          Evidence---Pretext

         If you find that Southwest Airlines has met its burden of producing evidence that its
 removal of Mr. Shah and refusal to rebook him were taken for a legitimate, non-discriminatory
 reason, Mr. Shah can introduce evidence that the reason given by Southwest Airlines is a pretext;
 in other words, that the reason given by Southwest Airlines is not the real reason for Southwest
 Airlines’ actions.
         Pretext may be shown in a number of ways. Mr. Shah can show pretext by showing that
 Southwest Airlines’ given explanation is unworthy of credence, or by showing weaknesses,
 implausibilities, inconsistencies, incoherencies, or contradictions in the reasons given by
 Southwest Airlines. Mr. Shah can also show pretext with evidence that Southwest Airlines gave
 different and arguably inconsistent explanations for the adverse action.
         If you find by a preponderance of the evidence that the reason given by Southwest
 Airlines is not the real reason for its actions, then Mr. Shah will have satisfied his burden of
 proving intentional discrimination by indirect or circumstantial evidence.


 Sources:          McDonnell Douglas v. Green, 411 U.S. 792, 802-804 (1973); Love-Lane v. Martin, 355 F. 3d 766,
 786 (4th Cir. 2004); Hill v. Lockheed Martin Logistics Mgmt, 354 F. 3d 277, 286 (4th Cir. 2004); Diamond v.
 Colonial Life & Acc. Ins. Co., 416 F. 3d 310, 317 (4th Cir. 2005);
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                                       JURY INSTRUCTION NO. G
                                            49 USC 44902(b)


        Southwest Airlines has raised a defense that its actions are immune from civil liability
 under 49 USC 44902, which governs air commerce and safety. In order to prevail on this
 defense, Southwest Airlines has the burden of proving, by a preponderance of the evidence, that
 it made a determination that Chirag Shah was inimical to safety. If you find that Southwest
 Airlines did in fact make a determination that Chirag Shah was inimical to safety, then the
 burden shifts to Chirag Shah to prove, by a preponderance of the evidence, that that
 determination was arbitrary and capricious, and not reasonable and rational.




 Sources:         49 U.S.C. § 44902(b); Williams v. Trans World Airlines, 509 F. 2d 942, 948 (2d Cir. 1975);
 Schaeffer v. Cavallero, 54 F. Supp. 2d 350, 352 (S.D.N.Y. 1999); Bayaa v. United Airlines, Inc., 249 F. Supp. 2d
 1998, 1205 (C.D. Cal. 2002); Dasrath v. Continental Airlines, Inc., 228 F. Supp. 2d 531, 540 n. 12 (D.N.J. 2002).
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                                     JURY INSTRUCTION NO. H
                                        Definition of Inimical

         “Inimical” means adverse or harmful. Thus, in order for Southwest to meet their initial
 burden that they made a determination that Mr. Shah’s actions might be inimical to safety, they
 must have made a determination that Mr. Shah’s actions might be adverse or harmful to the
 safety of the aircraft.


 Sources:        Oxford English Dictionary 1438 (1973); The American Heritage Dictionary of the English
 Language 929 (3d.ed 1992).
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                                JURY INSTRUCTION NO. I
                            Definition of Arbitrary and Capricious

        “Arbitrary and capricious” means “a willful and unreasonable action without
 consideration or in disregard of facts.” Thus, assuming that Defendant made a determination that
 Mr. Shah might be inimical to the safety of the plane, Mr. Shah must show that that
 determination was made without consideration or in disregard of the facts.




  Black’s Law Dictionary (West 9th ed. 2009) at 119, “arbitrary and capricious” is defined
 under the word “arbitrary” as follows: “(Of a legal decision) founded on prejudice or preference
 rather than on reason or fact. This type of decision is often termed arbitrary and capricious.”
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                                      JURY INSTRUCTION NO. J
                                   State of Mind of the Decision-maker


 Under federal law, the pilot must make all safety decisions. Therefore, Southwest Airlines is
 entitled to immunity under 49 USC 44902(b) only if Captain George Cannon decided that Mr.
 Shah might have been inimical to safety. If you decide Captain Cannon made this decision, you
 must then decide whether his decision was arbitrary and capricious, based on the facts available
 to Captain Cannon at the time he made his decision.




 Sources:        Dasrath v. Continental Airlines, Inc., 228 F. Supp. 2d 531, 540 n. 12 (D.N.J. 2002); Al–
 Qudhai’een v. Am. W. Airlines, Inc., 267 F.Supp.2d 841, 847 (S.D.Ohio 2003).
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                              JURY INSTRUCTION NO. K
                 The Court’s Determination on Prima Facie Discrimination

       The Court has determined, as a matter of law, that Chirag Shah has made a prima facie
 showing of discrimination by Defendant.
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                             JURY INSTRUCTION NO. L
                                      The Verdict

        You shall find your verdict for Chirag Shah if he proved by the preponderance of the
 evidence that:

        (1)     Southwest Airlines intentionally discriminated against him on account of his
 perceived race, color, ethnicity or ancestry; and
        (2)     The discrimination caused Mr. Shah to suffer deprivation of his right to make and
 enforce contracts; and
        (3)     Mr. Shah suffered damages as a result.

        You shall find your verdict for Defendant if:

         (1)     Plaintiff fails to prove any or all of the elements above; or
         (2)     Defendant proves, by a preponderance of the evidence, that its actions were taken
 for a legitimate nondiscriminatory reason; or
         (3)     Defendant proves, by a preponderance of the evidence, that it made a
 determination that Plaintiff was inimical to safety, unless Plaintiff also proves, by a
 preponderance of the evidence, that this determination was arbitrary and capricious and not
 reasonable and rational.
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                                  JURY INSTRUCTION NO. M
                                      Punitive Damages


         If you find for Mr. Shah and award him some amount of compensatory damages, you
 may then consider whether punitive damages should be awarded. Unlike compensatory damages,
 which compensate the victim for the harm he has suffered, the purpose of punitive damages is to
 punish the defendant for conduct that is outrageous because of the defendant’s unlawful motive
 or reckless indifference to the rights of others. Punitive damages are appropriate where the
 defendant’s conduct involves recklessness or callous indifference towards the plaintiff’s legally
 protected rights. Therefore, if you find that Southwest Airlines should have known, or did in fact
 know, that it would or could violate Mr. Shah’s legally protected rights by removing him from
 Flight 392, then you may award punitive damages. Similarly, if you find that Southwest Airlines
 should have known, or did in fact know, that it would or could violate Mr. Shah’s legally
 protected rights by refusing to rebook him, then you may award punitive damages.

         In determining the amount of punitive damages to award, if any, you should consider:

         1. the character and nature of the defendant’s conduct;
         2. the relationship between the punitive damage award and the harm likely to result
            from the Defendant’s conduct as well as the harm that actually has occurred;
         3. the degree of reprehensibility of Defendant’s conduct, the duration of the conduct, the
            Defendant’s awareness of the conduct, any concealment of the conduct, and the
            existence and frequency of similar past conduct;
         4. the magnitude of any potential harm to other victims if similar future behavior is not
            deterred;
         5. the defendant’s wealth, in order to determine what amount of money is needed to
            punish the defendant’s conduct and to deter any future acts of discrimination ;
         6. the costs of litigation; and
         7. the motives of Defendant, the degree of calculation, and the extent of the disregard
            for the rights of others.

         When fixing the amount of punitive damages to award, you should do so by using calm
 discretion and sound reason.
 Sources:       TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. 443, 459-462 (1993); Smith v.
                Wade, 461 U.S. 30 (1983); Pacific Milt. Life Ins. Co. v. Haslip, 499 U.S. 1, 15-20
                (1991); BMW of North America, Inc. v. Gore, Jr., 517 U.S. 559 (May 1996);
                State Farm Mutual Automobile Insurance Company v. Campbell, 123 S. Ct. 1513; 155 L. Ed. 2d
 585 (2003).
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                               JURY INSTRUCTION NO. N
                   PUNITIVE DAMAGES - ALTERNATE INSTRUCTION

 If you return a verdict for the plaintiff and you award the plaintiff compensatory damages, then
 you may, if you wish, also decide to make a separate and additional award of what are called
 “punitive damages”. To make such a judgment it is important to understand the reasons for
 awarding punitive damages: to punish the defendant for malicious conduct against the plaintiff or
 for callous disregard of plaintiff’s rights and to deter future such conduct by the defendant or
 others like him. Thus, you should consider whether the award of punitive damages will
 accomplish these dual purposes of punishment and deterrence. In determining the amount of
 punitive damages, you may also consider the financial circumstances of the defendant.

 You may even award punitive damages to the plaintiff in the absence of actual damages.
 However, you may award punitive damages only if you believe that the defendant should be
 punished for the reasons explained above. In other words, the plaintiff is not entitled to punitive
 damages as a matter of right. You must make a judgment about the defendant’s conduct.


 4. Leonard B. Sand, et al, Modern Federal Jury Instructions - Civil, § 87-23 (Matthew Bender &
 Co 2014).
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                                  JURY INSTRUCTION NO. O
                                     Evidence of Insurance

         The Plaintiff introduced evidence which contained references to Defendant’s insurance
 coverage. This evidence shall be considered by you solely for the purpose of determining the
 credibility of Defendant and its witnesses.
         The presence or absence of insurance or benefits of any type, whether liability insurance,
 health insurance, or employment-related benefits for either the plaintiff or the defendants, is not
 to be considered by you in any way in deciding the issue of liability or, if you find your verdict
 for the plaintiff, in considering the issue of damages.


         The existence or lack of insurance or benefits shall not enter into your discussions or
 deliberations in any way in deciding the issues in this case. You shall decide this case solely on
 the basis of the testimony and evidence presented in the courtroom, as well as the other
 instructions given to you by the court.




                                       VMJI 9.015 (modified)
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                                  JURY INSTRUCTION NO. P
                                  Managerial Capacity Defined

          In determining whether Captain Cannon is employed in a managerial capacity, you

 should look at the type of authority that Southwest gave to him and the amount of discretion that

 he had in what was done and how it was accomplished. To have managerial capacity, an

 employee must be important but need not be a top manager, officer or director to be acting in a

 managerial capacity.a For example, you can look at Captain Cannon’s authority to hire and fire

 crew or to impose lesser forms of discipline, including removing crew from the flight, writing up

 or reporting on crewmembers’ behavior, or putting crewmembers on another flight or overruling

 crewmembers’ decisions.b




 a   Lowery v. Circuit City Stores, 206 F.3d 431, 444 (4th Cir. 2000).
 b   See Anderson v. G.D.C., Inc., 281 F.3d 452, 461 (4th Cir. 2002) (“Cooper was
 unquestionably a managerial employee. The evidence at trial established that he
 possessed authority to hire and fire drivers and to impose lesser forms of discipline,
 including docking a driver's wages.”); Lowery, 206 F.3d at 444 (concluding that
 supervisor with hiring authority was a managerial employee); EEOC v. Wal–Mart
 Stores, Inc., 187 F.3d 1241, 1247 (10th Cir.1999)(holding that assistant store
 manager with authority to suspend subordinates and to make hiring and firing
 recommendations was a managerial employee).
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                                  JURY INSTRUCTION NO. Q
                               Duty to Deliberate/Unanimous Verdict

                 You will now retire to decide the case. In order to prevail, the plaintiff must

 sustain his burden of proof as I have explained to you with respect each element of his section

 1981 claim. Defendant must in turn sustain its burden of proof with respect to whether its

 actions were taken for a legitimate nondiscriminatory reason. If Defendant has met this burden,

 Plaintiff has the burden of proof to then show that the reasons given by Defendant were a pretext.

 Defendant also has the burden of proof to show that it made a determination that Mr. Shah was

 inimical to safety. If Defendant has met this burden, Plaintiff has the burden of proof to then

 show that any decision made by Defendant regarding Mr. Shah being inimical to safety was

 arbitrary and capricious. If you find that the plaintiff has succeeded in proving all elements of his

 claim, you should return a verdict in his favor. If you find that the plaintiff failed to sustain his

 burden, you should return a verdict against the plaintiff.

 It is your duty as jurors to consult with one another and to deliberate with a view to reaching an

 agreement. Each of you must decide the case for himself or herself, but you should do so only

 after a consideration of the case with your fellow jurors, and you should not hesitate to change an

 opinion when convinced that it is erroneous. Your verdict must be unanimous, but you are not

 bound to surrender your honest convictions concerning the effect or weight of the evidence for

 the mere purpose of returning a verdict or solely because of the opinion of other jurors. Discuss

 and weigh your respective opinions dispassionately, without regard to sympathy, without regard

 to prejudice or favor for either party, and adopt that conclusion that in your good conscience

 appears to be in accordance with the truth.
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 Again, each of you must make your own decision about the proper outcome of this case based on
 your consideration of the evidence and your discussions with your fellow jurors. No juror should
 surrender his or her conscientious beliefs solely for the purpose of returning a unanimous verdict.
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                               JURY INSTRUCTION R
                   Punitive Damages – Corporate Defendant's Liabilityc

       Southwest Airlines is a corporation and can act only through its officers and

 employees. As to plaintiff's claim for compensatory damages against Southwest

 Airlines, any act or omission of an officer or employee within the scope of his

 employment is the act or omission of the defendant corporation.

       As to plaintiff's claim for punitive damages against Southwest Airlines, a

 different rule applies. Punitive damages may be awarded against Southwest

 Airlines only (1) if you find in favor of Mr. Shah and against Southwest Airlines,

 and (2) if you find that, as to the acts or omissions giving rise to liability against

 Southwest Airlines – that is, the removal and subsequent refusal to reboard Mr.

 Shah – one or more of the following conditions are proved:

       (a) Southwest Airlines, through its management, authorized the doing and

              the manner of the act or omission; or

       (b) The act or omission was that of a managerial employee who was acting in

              the scope of his employment; or

       (c) The corporation, through its management or a managerial employee,

              ratified or approved the act or omission.




 c Adapted from Illinois Model Jury Instruction No. 35.02, available at
 http://www.state.il.us/court/circuitcourt/civiljuryinstructions/35.00.pdf at 6-7, which
 is based on the requirements of Restatement (Second) of Torts, § 909, and the
 Restatement (Second) of Agency, § 217C. The Fourth Circuit has adopted
 Restatement (Second) of Torts, § 909, for cases brought under § 1981. See, e.g.,
 Bryant v. Aiken Regional Medical Centers, Inc., 333 F.3d 536, 548 n. 4 (4th Cir.
 2003); Lowery v. Circuit City Stores, Inc., 206 F.3d 431, 442 (4th Cir. 2000).
